                     Case 4:14-cr-00152-KGB                     Document 226            Filed 11/16/15          Page 1 of 10
A0245B        (Rev. 09/11) Judgment in a Criminal Case                                                                      FILED
              Sheet I                                                                                                EAST~R8N 8\~t§\g! 9QURT
                                                                                                                                          l iiiGAS


                                          UNITED STATES DISTRICT COURT  NOV 16 2015
                                                                     JAMES~~~
                                                           Eastern District of Arkansas                     By:       mJ'J~ RK
                                                                          )                                                               DEP LERK
              UNITED STA TES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                         UZIEL LOZANO                                     )
                                                                          )       Case Number: 4:14CR00152-01 JLH
                                                                          )       USM Number: 28679-009
                                                                          )
                                                                          )        Molly Sullivan
                                                                                  Defendant's Attorney
THE DEFENDANT:
!ifpleaded guilty to count(s)          Count 1s of Superseding Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count

21 U.S.C. §§ 846 and               Conspiracy to possess with the intent to distribute and                   0n12014                      1s

 841 (a}(1) and (b)(1 )(A)         distribute methamphetamine, a Class A felony



       The defendant is sentenced as provided in pages 2 through           __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
it'count(s)     1-5, 7, 9; 2s-5s, 7s, 9s                 D is     !ill'are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.




                                                                              J. Leon Holmes                            U.S. District Judge
                                                                          Name and Title of Judge


                                                                              11/16/2015
                                                                          Date
                      Case 4:14-cr-00152-KGB                  Document 226        Filed 11/16/15        Page 2 of 10
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                  Judgment -          2_ of
                                                                                                               Page _ _       6
DEFENDANT: UZIEL LOZANO
CASE NUMBER: 4:14CR00152-01 JLH


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
  121 MONTHS




    ilf" The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends defendant participate in residential substance abuse treatment, and educational and vocational
 programs during incarceration. The Court further recommends placement in the FCI Texarkana, TX, facility to remain near
 family and take advantage of programs offered at that facility.

    ilf" The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at                                       D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By - - - - - - - - - - - - - - - - - - - - - -
                                                                                           DEPUTY UNITED STATES MARSHAL
                        Case 4:14-cr-00152-KGB                Document 226             Filed 11/16/15            Page 3 of 10
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page       3   of         6
DEFENDANT: UZIEL LOZANO
CASE NUMBER: 4:14CR00152-01 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 FIVE (5) YEARS

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as detennined by the court.
D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as direc.ted by the probation offi~er, the Bureal;l of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a quahfymg offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted pennission to do so by the probation officer;
 10)      the defendant shall P.ennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
          penn1ss1on of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
          defendant s compliance with such notification requirement.
                  Case 4:14-cr-00152-KGB             Document 226      Filed 11/16/15       Page 4 of 10
AO 24SB   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                        Judgment-Page         of
DEFENDANT: UZIEL LOZANO
CASE NUMBER: 4:14CR00152-01 JLH

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.
                     Case 4:14-cr-00152-KGB                        Document 226             Filed 11/16/15         Page 5 of 10
AO 2458    (Rev. 09/l l) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment - Page        of
DEFENDANT: UZIEL LOZANO
CASE NUMBER: 4:14CR00152-01 JLH
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                            Fine                                Restitution
TOTALS             $ 100.00                                                $ 0.00                             $ 0.00


 D The detennination ofrestitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such detennination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately pro2ortioned pa~ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                                 Total Loss*        Restitution Ordered Priority or Percentage




TOTALS                                                                          $   ~~~~~~~~~-
                                                                                                      0.00


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the                D fine     D restitution.
      D the interest requirement for the               D   fine    D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters I 09A, 110, 11 OA, and l l 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B
                     Case 4:14-cr-00152-KGB
           (Rev. 09/11) Judgment in a Criminal Case
                                                                Document 226              Filed 11/16/15            Page 6 of 10
           Sheet 6- Schedule of Payments
                                                                                                               Judgment- Page    _.=6_ of               6
DEFENDANT: UZIEL LOZANO
CASE NUMBER: 4:14CR00152-01 JLH

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     'iif Lump sum payment of$ _1O_O_.O_O_ _ __ due immediately, balance due
           D     not later than _ _ _ _ _ _ _ _ _ _ , or
           D     in accordance     D C, D D, D E, or                            D F below; or
 B    D Payment to begin immediately (may be combined with                   D C,         D D, or      D F below); or
 C    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years}, to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    D    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet~ penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made througn the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number}, Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 'ii/ The defendant shall forfeit the defendant's interest in the following property to the United States:
       See attached Preliminary Order of Forfeiture dated June 26, 2015, and accompanying October 28, 2015, order.



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
       Case 4:14-cr-00152-KGB             Document 226        Filed 11/16/15      Page 7 of 10
            Case 4:14-cr-00152-JLH Document 172 Filed 06/26/15 Page 1of3



                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                     No. 4:14CR00152 JLH

UZIEL l.DZANO

                         PRELIMINARY ORDER OF FORFEITURE

       IT IS HEREBY ORDERED THAT:

       1.      As the result of the June 1, 2015, guilty plea of Uziel Lozano ("Defendant"),

Defendant shall forfeit to the United States, under 21 U.S.C. § 853, the following property:

               A.      One Taurus model Judge, .410 gauge revolver, serial number CT848846;

               B.      all ammunition seized on June 5, 2014; and

               C.      one 2006 Acura model 3.2 TL, VIN 19UUA66206A021137.

(collectively "property subject to forfeiture").

       2.      Upon the entry of this Order, the United States Attorney General or a designee

(collectively "Attorney General") is authorized to seize the above-listed property and to conduct

any discovery proper in identifying, locating, or disposing of the property subject to forfeiture.

Fed. R. Crim. P. 32.2(b)(3). Further, the Attorney General is authorized to commence any

applicable proceeding to comply with statutes governing third party rights.

       3.      The United States shall publish, in such a manner as the Attorney General may

direct, notice of this Order and the United States' intent to dispose of the property subject to

forfeiture. The United States may also, to the extent practicable, provide written notice to any

person known to have an alleged interest in the property subject to forfeiture.

       4.      Any person, other than Defendant, asserting a legal interest in the property subject

to forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his
       Case 4:14-cr-00152-KGB             Document 226            Filed 11/16/15     Page 8 of 10
            Case 4:14-cr-00152-JLH Document 172 Filed 06/26/15 Page 2 of 3



or her alleged interest in the property and for an amendment of this Order. See 21 U.S.C. §

853(n)(2); 28 U.S.C. § 2461(c).       This petition must be filed within 30 days of the final

publication of notice or receipt of notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

       5.      This Preliminary Order of Forfeiture shall become final as to Defendant at the

time of sentencing and shall be made part of the sentence and included in the judgment. Fed. R.

Crim P. 32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

       6.      Any petition filed by a third party asserting an interest in the property subject to

forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature

and extent of the petitioner's right, title, or interest in the property subject to forfeiture, the time

and circumstances of the petitioner's acquisition of the right, title or interest in the property

subject to forfeiture, any additional facts supporting the petitioner's claim and the relief sought.

       7.      After the disposition of any motion filed under Federal Rule of Criminal

Procedure 32.2(c)(l)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

       8.      The United States shall have clear title to the property subject to forfeiture

following the Court's disposition of all third-party interests, or, if none, following the expiration

of the period provided for the filing of third party petitions.

       9.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. See Fed. R. Crim. P. 32.2(e).
Case 4:14-cr-00152-KGB   Document 226    Filed 11/16/15   Page 9 of 10
   Case 4:14-cr-00152-JLH Document 172 Filed 06/26/15 Page 3 of 3



SO ORDERED this




                                UNITED STATES DISTRICT JUDGE
     Case 4:14-cr-00152-KGB           Document 226         Filed 11/16/15       Page 10 of 10
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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:14CR00152-01 JLH

UZIEL LOZANO                                                                         DEFENDANT

                                             ORDER

       The United States has moved to dismiss the forfeiture allegation as to one Taurus model

Judge, .410 gauge revolver, serial number CT848846. That motion is GRANTED. Document #216.

The forfeiture allegation is dismissed as to the Taurus revolver but not to the other items.

       IT IS SO ORDERED this 28th day of October, 2015.




                                                      UNITED STATES DISTRICT JUDGE
